              Case 8-17-08043-reg                                       Doc 34-1                    Filed 09/26/18   Entered 09/26/18 15:25:39




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------------------------------------x   Case No. 15-710774 (reg)
In re:
                                                                                                            Chapter 11
FEDERATION EMPLOYMENT AND
GUIDANCE SERVICE, INC. d/b/a/ FEGS.

                                                                  Debtor.
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ROBERT N. MICHAELSON, solely in his
capacity AS CREDITOR TRUSTEE OF
THE FEGS CREDITOR TRUST,                                                                                    Adv. Proc. No. 17-08043 (reg)


                                                                   Plaintiff,

                                  -against-.

 ANDREWS INTERNATIONAL, INC.,

                                     Defendant.
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 DEFENDANT’S REPORT AND STATEMENT OF POSITION WITH REGARD TO
 THE SOLVENCY OF THE DEBTOR FEDERAL EMPLOYMENT AND GUIDANCE
 SERVICE, INC. d/b/a FEGS.

                                  Defendant Andrews International, Inc. (“Andrews”), by its attorneys, Wrobel

 Markham LLP, hereby makes this Report and Statement of Position with regard to the

 solvency of the Debtor Federal Employment and Guidance Service, Inc., d/b/a FEGS (“FEGS”

 or the “Debtor”) during the 90 day period prior to the Debtor’s filing of its petition in this Case


                                                                                                        1
      Case 8-17-08043-reg       Doc 34-1      Filed 09/26/18     Entered 09/26/18 15:25:39




seeking relief under 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), pursuant to the

Amended Stipulated Pretrial Order in this Proceeding, dated January 23, 2018.

       The original Plaintiff in this adversary proceeding, the Official Creditors’ Committee of

FEGS (the “Committee”), filed its complaint against Andrews alleging that certain transfers by

the Debtor to Andrews made during the 90 days prior to the filing of the Debtor’s petition on

March 18, 2015, are avoidable under § 547(b) of the Bankruptcy Code.

       Assuming that Committee and the current Plaintiff have standing and capacity to bring

and maintain this proceeding, under Bankruptcy Code §547(g) the burden of proof rests on the

Plaintiff to prove by a preponderance of the evidence that the Debtor was insolvent during the

90 days prior to the filing of the Debtor’s petition.

       Section 547(b)(3) and(4)(A) of the Bankruptcy Code requires that an essential element

that must be proven by a plaintiff seeking to avoid a transfer is that the transfer was made,

“while the debtor was insolvent; [and]…made on or within 90 days before the date of the

filing of the petition [commencing the case on March 18, 2015].”

       “Section 101(32) of the Bankruptcy Code defines “insolvent” as follows:

               The term "insolvent" means--

       (A) with reference to an entity other than a partnership and a municipality, financial
       condition such that the sum of such entity's debts is greater than all of such entity's
       property, at a fair valuation, exclusive of--

       (i) property transferred, concealed, or removed with intent to hinder, delay, or
       defraud such entity's creditors; and

       (ii) property that may be exempted from property of the estate under section 522 of
       this title ;”




                                                  2
     Case 8-17-08043-reg       Doc 34-1     Filed 09/26/18    Entered 09/26/18 15:25:39




       During discovery in this proceeding, Andrew served on the Committee “Defendant

Andrews International, Inc.’s First Set of document Requests” (“Andrews’ Document Request”),

Request No. 10 of which requested:

       “DOCUMENT REQUEST NO.10

               All documents in the possession, custody or control of the Committee
       reflecting, indicating, concerning or forming the basis for belief that the Debtor
       was insolvent at any time during the period from May 18, 2014 to May 18, 2015
       [the date on which the Debtor filed its petition in this case]”


       On November 8, 2017, the Committee served on Andrews’ counsel, “Plaintiff’s

Response to Defendant’s First Set of Document Requests,” which contained the following

response to Andrews’ “Document Request No. 10”:

           “RESPONSE TO DOCUMENT REQUEST NO. 10

               Subject to and without waiving the above-stated General Objections,
       Plaintiff objects to this document request on the grounds that it is compound,
       overbroad, burdensome and oppressive, misstates the Petition Date and
       Plaintiffs contention, and is not calculated to lead to the discovery of admissible
       evidence such that it is burdensome, harassing and oppressive.
       Plaintiff further objects to this Document Request to the extent it calls for a
       legal opinion and expert testimony prior to the designation of deadlines as set
       forth in the applicable Scheduling Order issued by the Court. Moreover,
       Plaintiff objects to this Document Request to the extent that it seeks documents
       that are privileged or exempt from discovery under the attorney-client
       communication privilege, work product doctrine. Without waiving said
       objection [sic], Plaintiff references Defendant to the Federation Employment
       and Guidance Service Claims Docket and claims maintained by Rust
       Consulting, and the bankruptcy documents on file in the main bankruptcy case
       including, but not limited to, the Schedules and SOFA's, First Day Motions,
       Plan and Disclosure Statement as well as the documents produced herein.”
       (emphasis supplied).

       None of the documents referred to by the Committee in its “Response to Document

Request No.10 indicates, reflects or evidences that the Debtor was insolvent, as that term is

defined in §101(32) of the Bankruptcy Code, from May 18, 2014 to May 18, 2015.

       None of the documents produced to Andrews by the Committee pursuant to its
                                                3
      Case 8-17-08043-reg        Doc 34-1     Filed 09/26/18     Entered 09/26/18 15:25:39




“Response to Document Request No.10—or at any time-- indicates, reflects or evidences that

the Debtor was insolvent, as that term is defined in §101(32) of the Bankruptcy Code, May 18,

2014 to May 18, 2015.

        The Committee refused to produce any documents in its possession, custody or control

“reflecting, indicating, concerning or forming the basis for belief that the Debtor was solvent

at any time during the period from May 18, 2014 to May 18, 2015.” See Andrews’ Request

No.12 and the Committee’s response thereto.

        In fact, all of the Debtor’s balance sheets, including all that the Debtor has filed in this

Court in this case, reflect that the Debtor had a very substantial positive net worth at the time

of the filing of its petition on March 18, 2015.

        Andrews’ counsel has been advised by counsel for the Committee and for the present

Plaintiff that Plaintiff will rely on the presumption of insolvency provided by §547(f) of the

Bankruptcy Code, which provides: “(f) For the purposes of this section [§547], the debtor is

presumed to have been insolvent on and during the 90 days immediately preceding the date of the

filing of the petition.”

        However, the presumption of §547(f), as is an evidentiary presumption, and is true of all

evidentiary presumptions, it is rebuttable by other evidence. Fed. R. Evid. 301. Here, the

Debtor’s own filings in this Chapter 11 Case have repeatedly represented that on the petition

date, March 18, 2015, the Debtor was solvent on a balance sheet test As an example, the

Debtor’s Balance Sheet filed in this Case on May 26, 2015, contained in the Debtor’s first

Monthly Operating Report [Dkt. 248] showed that on the petition date the Debtor had assets of

$138,274,505.88, liabilities of $99,344,416, and a positive net worth of $38,930,091.

        The United States Court of Appeals for the Second Circuit in Lawson v. Ford Motor

Co. (In re Roblin Indus.), 78 F.3d 30, 34 (2d.Cir.1996), held that that the presumption of
                                                   4
       Case 8-17-08043-reg        Doc 34-1     Filed 09/26/18      Entered 09/26/18 15:25:39




insolvency provided by §547(f), is an evidentiary presumption, “which is a rebuttable one. A

creditor may rebut the presumption by introducing some evidence that the debtor was not in

fact insolvent at the time of the [challenged] transfer. If the creditor introduces such evidence,

then the trustee must satisfy its burden of proof of insolvency by a preponderance of the

evidence. See Clay v. Traders Bank of Kansas City, 708 F.2d 1347,1351 (8th

Cir.1983)(presumption affords initial benefit but ultimate burden remains on trustee to prove

insolvency); Nugent v. First American Bank, No.91-CV-1410, 1992 U.S. Dist.LEXIS 12147,

1992 WL 200635, at *3 (N.D.N.Y. Aug.12, 1992).”

        The Second Circuit in Roblin also recognized that a debtor’s schedules of assets and

liabilities filed by it in its bankruptcy case may be sufficient to rebut §547(f)’s presumption of

insolvency, as the bankruptcy judge in that case evidently did. 78 F.3d at 36.

        The quantum of proof required to rebut the §547(f) presumption is not great. As the

court said in In re Affinity Health Care Mgt., Inc., 499 B.R. 246, 257 (D.Conn.2013), “The

presumption of insolvency may be rebutted if the debtor’s schedules submitted in support of

its bankruptcy petition indicate that assets exceed liabilities. . . . .”

        Thus, 18 months ago, the court in Lanik v. Smith (In re Cox Motor Express of

Greensboro, Inc., 2016 Bankr. LEXIS 2913 (M.D.N.C. Aug. 9, 2016) held that §547(f)’s

presumption of insolvency was rebutted by a debtor’s filings of statements of its financial

condition in its bankruptcy case, stating, “Based on a showing of solvency on the Debtor’s

bankruptcy schedules, the [§547(b)] Defendant has sufficiently rebutted the presumption of

insolvency during the 90-Day Preference Period. It is therefore the Trustee’s burden at trial to

prove the insolvency of the Debtor at time of the transfers during the Preference Period.” Id. at

*31.



                                                   5
      Case 8-17-08043-reg        Doc 34-1   Filed 09/26/18   Entered 09/26/18 15:25:39




        Andrews thus submits that the presumption of insolvency of §547(f) is rebutted and is

not a substitute for proof of FEGS’ insolvency at any time during the 90 days prior to the

filing of the petition in this Case.

       The Plaintiff in this case (assuming he has standing) must prove the Debtor’s

insolvency by a preponderance of admissible evidence at trial—unaided by any presumption.

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Dated: New York, N.Y.
       April 10, 2018




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                                               6
Case 8-17-08043-reg   Doc 34-1   Filed 09/26/18   Entered 09/26/18 15:25:39
